Case 2:85-cv-04544-DMG-AGR Document 522 Filed 11/13/18 Page 1 of 31 Page ID
                                #:25844


 1   MICHAEL N. FEUER, SBN 111529
       City Attorney
 2   JAMES P. CLARK, SBN 64780
     LEELA A. KAPUR, SBN 125548
 3   VALERIE L. FLORES, SBN 138572
     MICHAEL DUNDAS, SBN 226930
 4   200 North Main St., City Hall East Suite 800
     Los Angeles, California 90012
 5   mike.dundas@lacity.org
     Telephone: (213) 978-8130
 6   Facsimile: (213) 978-8312
 7
       Attorneys for Amicus Curiae City of Los
 8     Angeles
 9

10

11                   UNITED STATES DISTRICT COURT
12                  CENTRAL DISTRICT OF CALIFORNIA

13

14
      JENNY LISETTE FLORES,               Case No. 2:85-cv-4544-DMG (AGRx)
15
      et al.,
16
                    Plaintiffs,           BRIEF OF 18 CITIES AND
17
                                          COUNTIES AS AMICI CURIAE
18                                        IN SUPPORT OF PLAINTIFFS’
      v.
                                          MOTION TO ENFORCE
19
                                          SETTLEMENT
20    JEFFERSON B. SESSIONS III,
      Attorney General of the
21    United States, et al.,
22                  Defendants.
23

24

25

26
27

28
Case 2:85-cv-04544-DMG-AGR Document 522 Filed 11/13/18 Page 2 of 31 Page ID
                                #:25845


 1

 2
                                       TABLE OF CONTENTS
 3

 4   TABLE OF AUTHORITIES ...................................................................... ii
 5   STATEMENT OF INTEREST .................................................................. 1
 6   ARGUMENT ............................................................................................. 6
 7   I.     THE RULES ABOLISH THE STATE LICENSING
            REQUIREMENT, THEREBY ENDANGERING THE
 8          HEALTH AND SAFETY OF CHILDREN....................................... 9
 9          a.      State Licensing Provides Critical Oversight. ....................... 10
10          b.      ICE-Run Facilities Have a History of Poor Conditions
                    and Compliance Issues. ........................................................ 12
11
            c.      Eliminating the Requirement that Children be
12                  Housed in State-Licensed Facilities Will Result in
                    Longer Detention in Secure Facilities, Thereby
13                  Increasing the Ill Effects on Children. ................................. 16
14   II.    THE RULES CURTAIL OR ELIMINATE ESSENTIAL
            PROCEDURAL PROTECTIONS GUARANTEED BY THE
15          FSA. ................................................................................................ 17
16          a.      The Rules Deprive UACs of Their Right to be Heard
                    at Bond Hearings. ................................................................. 17
17
            b.      The Rules Limit Options for Release from Federal
18                  Custody.................................................................................. 20
19   CONCLUSION ........................................................................................ 23
20
21

22

23

24

25

26
27

28
              BRIEF OF 18 CITIES AND COUNTIES AS AMICI CURIAE IN SUPPORT OF
                       PLAINTIFFS’ MOTION TO ENFORCE SETTLEMENT
                                            i
Case 2:85-cv-04544-DMG-AGR Document 522 Filed 11/13/18 Page 3 of 31 Page ID
                                #:25846


 1
                                     TABLE OF AUTHORITIES
 2

 3                                                                                                      Page(s)
                                             FEDERAL CASES
 4

 5   Citizens for a Better Environment v. Gorsuch,
        718 F.2d 1117 (D.C. Cir. 1983) ............................................................. 8
 6
     Ferrell v. Pierce,
 7
       560 F. Supp. 1344 (N.D. Ill. 1983) ......................................................... 8
 8
     Flores v. Johnson,
 9
        212 F. Supp.3d 864 (C.D. Cal. 2015) ................................................... 11
10
     Flores v. Lynch,
11      828 F.3d 898 (9th Cir. 2016).................................................. 1, 7, 11, 19
12
     Flores v. Lynch,
13      212 F. Supp.3d 907, 914 (C.D. Cal. 2015) ....................................... 7, 10
14
     Flores v. Reno,
15       Stipulation and Order, Case No. 2:85-cv-04544-DMG
        (AGRx), Dkt. No. 13 (C.D. Cal., Dec. 12, 2001) .................................... 8
16

17   Flores v. Sessions,
        862 F.3d 863 (9th Cir. 2017).................................................... 18, 19, 20
18

19   Flores v. Sessions,
        Order Denying Defendants’ “Ex Parte Application for
20      Limited Relief from Settlement Agreement,” Case No.
21      2:85-cv-04544-DMG-AGR, Dkt. No. 455 at 3-4 (C.D. Cal.
        July 9, 2018)..................................................................................... 8, 19
22

23   Souza v. Sessions,
       No. 1:18-cv-04412 (MSS) ECF Dkt. # 23 (N.D. Ill. June 28,
24     2018)..................................................................................................... 22
25

26
27

28
              BRIEF OF 18 CITIES AND COUNTIES AS AMICI CURIAE IN SUPPORT OF
                       PLAINTIFFS’ MOTION TO ENFORCE SETTLEMENT
                                                           ii
Case 2:85-cv-04544-DMG-AGR Document 522 Filed 11/13/18 Page 4 of 31 Page ID
                                #:25847


 1

 2

 3                                               STATUTES
 4
     8 U.S.C. § 1225(B)(iii)(IV) ........................................................................ 22
 5
     18 NYCRR Article 3 ................................................................................ 10
 6
     225 ILC §10/1 .......................................................................................... 18
 7

 8   California Health & Safety Code § 1500 ................................................. 10
 9   Chicago Municipal Code § 4-76-010........................................................... 2
10
     Los Angeles Municipal Code § 57.105.3.9.2.1............................................ 2
11
     Los Angeles Municipal Code § 57.105.6.24 ............................................... 2
12
     NY CLS Social Services § 378 (1) ........................................................... 10
13

14   NY CLS Social Services § 379 (1) ........................................................... 10
15

16
                            RULES & REGULATIONS
17
     22 CCR § 84000 ........................................................................................ 10
18
     22 CCR § 89244 ........................................................................................ 10
19

20   22 CCR §§ 89254-89255 ........................................................................... 10
21   Proposed Rule 8 CFR § 212(5)(b)(3) ......................................................... 23
22
     Proposed Rule 8 CFR § 236.3(b)(5) ............................................................ 9
23
     Proposed Rule 8 CFR § 236.3(b)(8-9) ......................................................... 9
24
     Proposed Rule 8 CFR § 236.3(j) ............................................................... 22
25

26   Proposed Rule 45 CFR § 410.302 ............................................................. 21
27   Proposed Rule 45 CFR § 410.402 ............................................................. 17
28
              BRIEF OF 18 CITIES AND COUNTIES AS AMICI CURIAE IN SUPPORT OF
                       PLAINTIFFS’ MOTION TO ENFORCE SETTLEMENT
                                                         iii
Case 2:85-cv-04544-DMG-AGR Document 522 Filed 11/13/18 Page 5 of 31 Page ID
                                #:25848


 1   Proposed Rule 45 CFR § 410.810 ............................................................. 18
 2
     83 FR 45486 (Sept. 7, 2018) ....................................................................... 1
 3

 4
                                OTHER AUTHORITIES
 5
     American Pediatric Association, et al., July 24, 2018 Letter to
 6
     Congress ................................................................................................... 13
 7
     Cities for Action & Lumos Foundation, “On the Frontlines of
 8
     the Family Separation Crisis,” Sep. 2018.................................................. 4
 9
     Human Rights First, “Family Detention: Still happening,
10   Still Damaging,” October 2015 .......................................................... 12, 16
11
     Julie M. Linton, Marsha Griffin, Alan J. Shapiro, “Detention
12   of Immigrant Children,” American Academy of Pediatrics,
13   March 2017 ............................................................................................... 13

14   October 2016 Report of the ICE Advisory Committee on
     Family Residential Centers ..................................................................... 17
15

16   Office of Inspector General “ICE’s Inspections and
     Monitoring of Detention Facilities Do Not Lead to Sustained
17
     Compliance or Systemic Improvements,” OIG-18-67 (June 26,
18   2018) ......................................................................................................... 15
19   Office of Inspector General “Management Alert - Issues
20   Requiring Action at the Adelanto ICE Processing Center in
     Adelanto, California,” OIG-18-86 (September 27, 2018) ......................... 13
21

22   Scott Allen, Pamela McPherson, Letter to Chairman Grassley
     and Vice Chairman Wyden, July 17, 2018 .................................. 13, 14, 15
23

24

25

26
27

28
              BRIEF OF 18 CITIES AND COUNTIES AS AMICI CURIAE IN SUPPORT OF
                       PLAINTIFFS’ MOTION TO ENFORCE SETTLEMENT
                                                             iv
Case 2:85-cv-04544-DMG-AGR Document 522 Filed 11/13/18 Page 6 of 31 Page ID
                                #:25849


 1                        STATEMENT OF INTEREST
 2         The City of Chicago, City of Los Angeles and City of New York,
 3   together with the City and County of San Francisco, Los Angeles County
 4   Santa Clara County, and the Cities of Austin, Boston, Cambridge,
 5   Columbus (OH), Houston, New Haven, Oakland, Philadelphia,
 6   Providence, San Jose, Seattle, and Somerville respectfully submit this
 7   brief, as amici curiae, in support of Plaintiffs’ Motion to Enforce
 8   Settlement.
 9         On September 7, 2018, the Department of Homeland Security
10   (“DHS”) and the Department of Health and Human Services (“HHS”)
11   (collectively, the “Departments”) proposed rules “to amend regulations
12   relating to the apprehension, processing, care, custody, and release of
13   alien juveniles” (“Rules”) in a Notice of Proposed Rule Making (“NPRM”)
14   published in the Federal Register. 83 Fed. Reg. 45486 (Sept. 7, 2018).
15         The Rules are an impermissible and troubling attempt to use the
16   rulemaking process to flout court-mandated safeguards for the detention
17   of immigrant children in federal custody as set forth in the Flores
18   Settlement Agreement (“FSA”). Instead of being consistent with the
19   terms of the FSA, the Rules dispense wholesale with its most critical
20   protections, in favor of a new detention policy for which the
21   Departments identify no justification.
22         Amici have significant interest in and grave concerns with the
23   Rules because they would result in longer detentions and lower
24   standards of care for immigrant children, thus increasing the well-
25   documented risks of such detention and impeding amici’s ability to serve
26   properly the needs of their immigrant residents. Specifically, the Rules
27   impact three primary interests of amici: (1) ensuring the health and
28   wellbeing of immigrant children through state and local licensing of
            BRIEF OF 18 CITIES AND COUNTIES AS AMICI CURIAE IN SUPPORT OF
                     PLAINTIFFS’ MOTION TO ENFORCE SETTLEMENT
                                          1
Case 2:85-cv-04544-DMG-AGR Document 522 Filed 11/13/18 Page 7 of 31 Page ID
                                #:25850


 1   housing facilities; (2) providing essential resources to immigrant
 2   children to address the harms of detention; and (3) providing immigrant
 3   children with access to legal representation throughout their
 4   immigration proceedings.
 5         First, the Rules attempt to undo the FSA’s requirement that
 6   minimum standards of care be met for children while in detention or in
 7   the custody of HHS’s Office of Refugee Resettlement (“ORR”), including
 8   being housed in state-licensed facilities. Amici have an acute interest in
 9   protecting the FSA’s state licensing requirement. Many amici, like the
10   City of Los Angeles, Los Angeles County, the City of New York and the
11   City and County of San Francisco all prosecute violations of child
12   welfare laws and health and safety codes in their respective
13   jurisdictions. Cases are routinely referred to these offices for
14   prosecution by the State of California’s and the State of New York’s
15   licensing agencies. And in addition to enforcing state laws, some amici
16   have local ordinances requiring state-licensed facilities to abide by local
17   fire, building, and other safety codes that ensure the safety not only of
18   the children, but also of the staff and first responders.
19         For example, Chicago’s and Los Angeles’s municipal codes subject
20   state-licensed child care institutions to additional oversight, inspections,
21   and penalties beyond those provided for by the State of Illinois and State
22   of California, respectively. See Chicago Mun. Code § 4-76-010 et seq.; Los
23   Angeles Mun. Code § 57.105.3.9.2.1, 57.105.6.24. These state licensing
24   schemes and local laws reflect amici’s interests in ensuring protection
25   for immigrant children – protections that will not necessarily exist for
26   children housed in federally-“licensed” facilities.
27         Second, because the Rules will result in the detention of immigrant
28   children for longer periods of time than the FSA permits, and in
            BRIEF OF 18 CITIES AND COUNTIES AS AMICI CURIAE IN SUPPORT OF
                     PLAINTIFFS’ MOTION TO ENFORCE SETTLEMENT
                                           2
Case 2:85-cv-04544-DMG-AGR Document 522 Filed 11/13/18 Page 8 of 31 Page ID
                                #:25851


 1   facilities that do not meet the minimum standards of the FSA, the Rules
 2   in turn are likely to require amici to dedicate resources to address the
 3   harms to immigrant youth caused by that longer detention, including
 4   trauma, in order to support the health and vitality of immigrant youth
 5   as they are integrated into communities after release.
 6         New York City’s response to the needs of separated immigrant
 7   children held in federal custody in New York City provides an example
 8   of how local governments have stepped in to support the well-being of
 9   immigrant youth in their jurisdictions who have confronted traumatic
10   circumstances. In the wake of the “family separation crisis” in the
11   summer of 2018, New York City engaged in a multi-pronged response to:
12   (1) help ORR meet the medical needs of the approximately 300
13   separated immigrant children sent to ORR-contracted facilities in New
14   York City, many of whom were suffering from trauma as a result of
15   having been separated from their family; and (2) streamline access to
16   city services for these children, as well as for their family, sponsors,
17   ORR foster care parents, and the non-profit provider staff caring for
18   them.
19         New York City delivered workshops to staff at ORR facilities to
20   help ORR staff recognize and support immigrant children impacted by
21   trauma. And when the population of separated children exhibited
22   pressing physical and mental health needs that exceeded the treatment
23   capabilities of the ORR-contacted agencies, New York City set up an
24   expedited referral hotline to link children to emergency and outpatient
25   psychiatric care, provided a bilingual child and adolescent psychiatrist
26   to collaborate on-site with ORR mental health clinicians, trained mental
27   health clinicians from the ORR facilities in trauma skills groups for
28   young children, and contracted with the health insurance company
             BRIEF OF 18 CITIES AND COUNTIES AS AMICI CURIAE IN SUPPORT OF
                      PLAINTIFFS’ MOTION TO ENFORCE SETTLEMENT
                                           3
Case 2:85-cv-04544-DMG-AGR Document 522 Filed 11/13/18 Page 9 of 31 Page ID
                                #:25852


 1   covering the children at the ORR-contracted agencies to ensure that
 2   insurance issues would not impede access to medical care. New York
 3   City also provided trainings on trauma-related care to ORR foster care
 4   parents and ORR-contracted agency staff caring for immigrant children.
 5         Similarly, over the summer of 2018, the City of Los Angeles and
 6   Los Angeles County, which was a destination for many reunited
 7   families, convened regional stakeholders, including a range of local
 8   service providers, to coordinate assistance to separated and reunited
 9   families in Southern California. Through its Office of Immigrant Affairs
10   (“OIA”), the County of Los Angeles reunited and supported children and
11   their parents who were living in the County and who were impacted by
12   the family separation crisis. An OIA liaison was assigned to each family
13   impacted by the federal government’s policy and worked with those
14   families to connect them with available County and non-County social,
15   health, consumer, and legal services. The County has continued to
16   support reunified families, including by providing medical services
17   including health assessments and immunizations, and mental health
18   services.
19         Both the County and the City of Los Angeles also provided the
20   impacted families with enrollment assistance in education, aid from
21   legal service providers, and connections to a range of social, work,
22   education, and family support services, including English classes, food
23   distribution, employment support, and benefit screenings.1
24         Third, the Rules eliminate the right to bond redetermination
25   hearings and prolong detention times. This will undoubtedly interfere
26   with immigrant children’s ability to receive adequate access to counsel,
27
     1
      Cities for Action & Lumos Foundation, “On the Frontlines of the
28   Family Separation Crisis,” Sep. 2018, p. 18, available at
     https://perma.cc/DAW3-FNMV.
            BRIEF OF 18 CITIES AND COUNTIES AS AMICI CURIAE IN SUPPORT OF
                     PLAINTIFFS’ MOTION TO ENFORCE SETTLEMENT
                                          4
Case 2:85-cv-04544-DMG-AGR Document 522 Filed 11/13/18 Page 10 of 31 Page ID
                                #:25853


  1   and amici’s ability to provide such counsel.
  2        Amici have a strong interest in ensuring legal representation to
  3   their immigrant residents, especially immigrant children. In line with
  4   this interest, several amici fund legal representation for immigrants in
  5   their jurisdictions. For example, Chicago provides funding to the
  6   National Immigrant Justice Center (“NIJC”), including to NIJC’s
  7   Asylum Project, to help immigrant residents receive the legal services
  8   they need. In 2017, Chicago approved two contracts totaling $1.8
  9   million to fund legal aid for immigrants through 2018, and will add to
 10   this figure in 2019.
 11        New York City, likewise, has made substantial investments in
 12   legal services for its immigrant residents, totaling more than $40 million
 13   for 2019. This includes $4.1 million earmarked for: (1) increasing
 14   capacity for legal defense in deportation proceedings for immigrant
 15   youth; (2) increasing funding for social work and case management
 16   resources to address the acute needs of these children; and (3) providing
 17   legal risk assessment and screening services to immigrants, including
 18   family members, seeking to be sponsors of unaccompanied minors
 19   (“UACs”), thus facilitating their release from ORR facilities. In addition,
 20   New York City has pioneered innovative models for immigrant legal
 21   representation, such as the New York Immigrant Family Unity Project,
 22   which provides free, high-quality legal representation to detained
 23   immigrants facing deportation, and the Immigration Children Advocates
 24   Relief Effort, serving UACs.
 25        In 2017, the City of Los Angeles, Los Angeles County, and two
 26   foundations created the LA Justice Fund, a $10 million public-private
 27   partnership that funds organizations providing immigration legal
 28   services. The LA Justice Fund was expanded in 2018 to provide legal
            BRIEF OF 18 CITIES AND COUNTIES AS AMICI CURIAE IN SUPPORT OF
                     PLAINTIFFS’ MOTION TO ENFORCE SETTLEMENT
                                           5
Case 2:85-cv-04544-DMG-AGR Document 522 Filed 11/13/18 Page 11 of 31 Page ID
                                #:25854


  1   representation to children who were separated from their families and
  2   who are detained or housed in Los Angeles as well as their respective
  3   parents or sponsors. Further, Los Angeles County engaged the
  4   American Academy of Pediatrics (“AAP”) to train pediatricians to
  5   conduct trauma assessments and write medical reports necessary for
  6   children and parents’ legal relief cases. More recently, the County, in
  7   conjunction with AAP and legal services providers throughout Southern
  8   California began organizing a November 2018 training summit to
  9   explore ways that doctors and lawyers can more closely collaborate to
 10   protect the rights of separated immigrant children and their families.
 11        Many other amici also provide legal aid funds or support services
 12   to their immigrant communities. See, e.g., Santa Clara County
 13   (dedicated Office of Immigrant Relations providing community and legal
 14   services to immigrants and immigrant children).
 15        Because the Rules strip away critical procedural protections
 16   guaranteed by the FSA, the Rules impede access by immigrant children
 17   to crucial legal services and undermine amici’s investments in these
 18   services.
 19        With these interests at stake, and for the following reasons, amici
 20   assert that Plaintiff’s Motion to Enforce Settlement should be granted.
 21                                 ARGUMENT
 22        The FSA provides critical protections for children in immigrant
 23   detention. Rather than implement those protections, the proposed Rules
 24   strip them away. The FSA was thoughtfully crafted over many years of
 25   litigation and negotiation between the federal government and a class of
 26   immigrant children apprehended at the United States border and
 27   detained by the Immigration and Naturalization Service (“INS”). On
 28   January 28, 1997, the parties entered into the FSA, which “sets out
            BRIEF OF 18 CITIES AND COUNTIES AS AMICI CURIAE IN SUPPORT OF
                     PLAINTIFFS’ MOTION TO ENFORCE SETTLEMENT
                                           6
Case 2:85-cv-04544-DMG-AGR Document 522 Filed 11/13/18 Page 12 of 31 Page ID
                                #:25855


  1   nationwide policy for the detention, release, and treatment of children in
  2   the custody of the INS [now DHS and HHS].” FSA, ¶ 9 (C.D. Cal. Jan.
  3   28, 1997). The FSA announced a “General Policy Favoring Release,” id.,
  4   VI and ¶ 14, and requires that the government place children “in the
  5   least restrictive setting appropriate to the minor’s age and special needs,
  6   provided that such setting is consistent with its interests to ensure the
  7   minor’s timely appearance before the INS and immigration courts and to
  8   protect the minor’s well-being and that of others,” id., ¶ 11. Thus, the
  9   FSA strives to protect the welfare of immigrant children at the highest
 10   level possible, while still ensuring the government’s legitimate
 11   enforcement needs are met.
 12        The FSA imposes minimum standards for all children held in
 13   detention or in ORR custody, regardless of whether the children entered
 14   the United States with their families or as UACs. See Flores v. Lynch,
 15   828 F.3d 898, 906-08 (9th Cir. 2016). Specifically, it requires that
 16   children be housed in non-secure, state-licensed facilities and be
 17   provided adequate access to medical care, counseling, language services,
 18   and legal representation. See FSA, Ex. 1. Immigration and Customs
 19   Enforcement (“ICE”) must transfer children apprehended at the border
 20   (and to whom release was denied) to non-secure state-licensed facilities
 21   within five days, or “as expeditiously as possible if there is an influx[.]”
 22   Id., ¶ 12A. In 2015, this Court held that, in the case of an influx, up to
 23   20 days would be considered a reasonable delay. See Flores v. Lynch,
 24   212 F. Supp.3d 907, 914 (C.D. Cal. 2015), aff’d in part and rev’d in part
 25   on other grounds by, 828 F.3d 898 (9th Cir. 2016).
 26        The FSA, as a document, was intended to be a temporary measure,
 27   but its principles of child health and welfare were intended to be
 28   permanent. In 2001, the parties stipulated that the FSA would remain
            BRIEF OF 18 CITIES AND COUNTIES AS AMICI CURIAE IN SUPPORT OF
                     PLAINTIFFS’ MOTION TO ENFORCE SETTLEMENT
                                            7
Case 2:85-cv-04544-DMG-AGR Document 522 Filed 11/13/18 Page 13 of 31 Page ID
                                #:25856


  1   in place until “45 days following defendants’ publication of final
  2   regulations” governing the treatment of detained children. See Flores v.
  3   Reno, Stipulation and Order, Case No. 2:85-cv-04544-DMG (AGRx), Dkt.
  4   No. 13 (C.D. Cal., Dec. 12, 2001). Any such regulations, however, “shall
  5   not be inconsistent with the terms” of the FSA. FSA, ¶ 9. Thus, while
  6   the Departments have now proposed “final regulations,” the FSA
  7   remains in effect until regulations consistent with the terms of the FSA,
  8   are implemented.
  9        Having had their attempts to amend or terminate the FSA
 10   rebuffed by the courts,2 the Departments now improperly attempt to
 11   circumvent the guarantees of the FSA through the rulemaking process.
 12   Although the Rules profess to “adopt in regulations provisions that
 13   parallel the relevant and substantive terms of the FSA, consistent with
 14   [federal statutes], with some modifications … to reflect intervening
 15   statutory and operational changes while still providing similar
 16   substantive protections and standards,” NPRM at 45486, in practice, the
 17   Rules directly undermine the protections for vulnerable children at the
 18   heart of the FSA.
 19
      2
        For example, earlier this year, this Court rejected Defendants’ request
 20   for “limited” relief from the FSA’s state licensing requirements, holding
      that Defendants’ request, if allowed, would constitute a “fundamental
 21   and material breach of the parties’ Agreement.” Flores v. Sessions,
      Order Denying Defendants’ “Ex Parte Application for Limited Relief
 22   from Settlement Agreement,” Case No. 2:85-cv-04544-DMG-AGR, Dkt.
      No. 455 at 3-4 (C.D. Cal. July 9, 2018)(“July 9 Order”). As detailed
 23   below, this is only the most recent example of the courts having rejected
      Defendants’ efforts to circumvent the FSA. Unable to find a court
 24   willing to sanction such efforts, the Departments now engage in a
      transparent effort to end-run the binding terms of the FSA through
 25   administrative rulemaking. This is unlawful. See, e.g., Citizens for a
      Better Environment v. Gorsuch, 718 F.2d 1117, 1124-29 (D.C. Cir. 1983)
 26   (EPA could not use rulemaking to avoid settlement agreement with
      environmental group where regulations contained less stringent criteria
 27   for regulating toxic waste discharge than settlement agreement); Ferrell
      v. Pierce, 560 F. Supp. 1344, 1364-70 (N.D. Ill. 1983) (HUD prohibited
 28   from implementing proposed regulations where they conflicted with
      settlement agreement regarding mortgages).
            BRIEF OF 18 CITIES AND COUNTIES AS AMICI CURIAE IN SUPPORT OF
                     PLAINTIFFS’ MOTION TO ENFORCE SETTLEMENT
                                           8
Case 2:85-cv-04544-DMG-AGR Document 522 Filed 11/13/18 Page 14 of 31 Page ID
                                #:25857


  1    I.   THE RULES ABOLISH THE STATE LICENSING
  2         REQUIREMENT, THEREBY ENDANGERING THE HEALTH
            AND SAFETY OF CHILDREN.
  3
            One of most consequential features of the Rules is the elimination
  4
      of the FSA’s requirement that detained children must be held in non-
  5
      secure state-licensed facilities during the pendency of their immigration
  6
      proceedings. Under the FSA, children apprehended by border patrol
  7
      officials, and not otherwise eligible for release, may only be transferred
  8
      to “licensed programs.” FSA, ¶ 19. A “licensed program” is “any
  9
      program, agency or organization that is licensed by an appropriate state
 10
      agency,” id., ¶ 6, and it “must comply with all applicable state child
 11
      welfare laws and regulations and all state and local building, fire, health
 12
      and safety codes.” Id., Ex. 1.
 13
            The Rules abandon this critical requirement, providing instead
 14
      that, where no state-licensed programs are available, DHS, through
 15
      ICE, may house children with their families in its own family detention
 16
      centers exempt from state licensing requirements. See Proposed Rule 8
 17
      CFR § 236.3(b)(8-9). These ICE facilities will be considered “licensed” if
 18
      DHS “employs an outside entity to ensure that the facility complies with
 19
      family residential standards established by ICE.” NPRM at 45497.
 20
      Proposed Rule 8 CFR § 236.3(b)(5) also includes an “out” for
 21
      noncompliance: DHS would have the authority to delay or suspend
 22
      services such as meals, snacks, or counseling, due to “emergency”
 23
      situations (such as a natural disaster, facility fire, civil disturbance, or
 24
      medical concerns). Thus, DHS has already anticipated and provided
 25
      cover for falling short of its own minimum standards of care.
 26
            In sum, the Rules allow ICE to set its own standards of care for its
 27
      own facilities, avoid oversight from independent state regulators, and
 28
            BRIEF OF 18 CITIES AND COUNTIES AS AMICI CURIAE IN SUPPORT OF
                     PLAINTIFFS’ MOTION TO ENFORCE SETTLEMENT
                                            9
Case 2:85-cv-04544-DMG-AGR Document 522 Filed 11/13/18 Page 15 of 31 Page ID
                                #:25858


  1   rely on unnamed “outside entities” to inspect the facilities and ensure
  2   compliance. This is woefully inadequate to ensure the health and
  3   welfare of vulnerable children and is contrary to the FSA’s requirement
  4   that any Rules promulgated to address the detention of immigrant
  5   children be consistent with its terms. See FSA ¶ 9.
  6           a. State Licensing Provides Critical Oversight.
  7        State licensing provides critical oversight of child welfare
  8   programs, ensuring that their operations provide minimum standards of
  9   care for the health and safety of immigrant children. See, e.g., Flores v.
 10   Johnson, 212 F. Supp.3d 864, 879 (C.D. Cal. 2015) (licensing provision
 11   provides “essential protection of regular and comprehensive oversight by
 12   an independent child welfare agency”).
 13        Most amici are located in States that have licensing regulations
 14   that, among other things, detail standards of care, require regular
 15   inspections, and grant local entities the authority to address vigorously
 16   noncompliance through such measures as prosecution of violations,
 17   imposing fines, corrective action plans, suspending licenses for
 18   programs, or suspending the ability for a program to house children.
 19   See, e.g., 225 ILCS 10/1 et seq. (Illinois Child Care Act regulating
 20   facilities housing children); Cal. Health & Safety Code § 1500 et seq.; 22
 21   CCR § 84000 et seq. (regulations governing group homes in California);
 22   22 CCR §§ 89254-89255 (setting forth various penalties for non-
 23   compliance in California); NY CLS Soc Serv § 379(1).
 24        In addition, many States already supervise and license programs
 25   that provide care to parents with their children, such as mother/child
 26   foster care and domestic violence shelters for families. See, e.g., 22 CCR
 27   § 89244 (discussing authority of licensing agency to inspect and evaluate
 28   foster homes and interview children placed in such homes in California);
            BRIEF OF 18 CITIES AND COUNTIES AS AMICI CURIAE IN SUPPORT OF
                     PLAINTIFFS’ MOTION TO ENFORCE SETTLEMENT
                                           10
Case 2:85-cv-04544-DMG-AGR Document 522 Filed 11/13/18 Page 16 of 31 Page ID
                                #:25859


  1   NY CLS Soc Serv § 378(5); 18 NYCRR Art. 3.
  2        Defendants have previously tried to evade the FSA’s state
  3   licensing requirement and to house children in unregulated ICE
  4   facilities, but courts have rebuffed such efforts, finding them to be
  5   material breaches of the FSA. See, e.g., Flores v. Johnson, 212 F.
  6   Supp.3d at 877-80 (defendants materially breached FSA by failing to
  7   house unreleased minors in non-secure, state-licensed facilities); July 9
  8   Order at 3-4 (“Defendants now seek to hold children in indefinite
  9   detention in unlicensed facilities, which would constitute a fundamental
 10   and material breach of the parties’ Agreement.”). Defendants have also
 11   been unsuccessful in their attempts to modify the FSA to allow such
 12   federal custody because there are no changed circumstances or
 13   operational shifts justifying modification. See Flores v. Lynch, 828 F.3d
 14   at 910 (affirming denial of motion to amend FSA to allow ICE to house
 15   children in unlicensed facilities); July 9 Order at 7.
 16        Undeterred, DHS now seeks to codify what the courts have
 17   repeatedly found to be a material breach of the FSA. In an effort to
 18   overcome these court rulings, DHS states that the Rules are different
 19   from the previous attempts to avoid the state licensing requirement
 20   because they “create[] an affirmative proposal of a federal-licensing
 21   scheme,” which, it claims, has not previously been considered by a court.
 22   NPRM at 45492. In other words, DHS argues that merely by
 23   designating the ICE facilities “licensed programs,” they are suddenly
 24   equivalent to (and thus consistent with) the FSA’s state-licensing
 25   requirement. That cannot be so. The Rules do not provide any detail
 26   regarding the licensing scheme contemplated for these facilities.
 27   Without that information, it is impossible to determine whether the
 28   federal licensed facilities would adequately protect the children who
            BRIEF OF 18 CITIES AND COUNTIES AS AMICI CURIAE IN SUPPORT OF
                     PLAINTIFFS’ MOTION TO ENFORCE SETTLEMENT
                                           11
Case 2:85-cv-04544-DMG-AGR Document 522 Filed 11/13/18 Page 17 of 31 Page ID
                                #:25860


  1   would be housed there.
  2           More fundamentally, the Rules lack the accountability of state and
  3   local licensing that is central to the FSA: state regulations and local
  4   codes provide consequences such as fines, penalties, and license
  5   suspension or revocation on noncompliance. Although the Rules do not
  6   provide detail regarding the contemplated oversight of the ICE-run
  7   facilities, it is likely that such oversight will be less stringent than state
  8   and local licensing. Without this accountability, the federal facilities
  9   will lack incentive to ensure that even regular inspection and minimal
 10   standards are met.
 11             b. ICE-Run Facilities Have a History of Poor Conditions and
 12                Compliance Issues.

 13           Amici’s concerns about the conditions at the ICE-run federally-

 14   licensed facilities contemplated by the Rules are well founded. ICE-run

 15   detention facilities historically and routinely provide substandard care

 16   to children and adults, failing to meet even their own minimum

 17   standards of care. See, e.g., human rights first, “Family Detention: Still

 18   happening, Still Damaging,” October 2015, (“human rights first Report”)

 19   (discussing reports of substandard care at family detention centers

 20   including Karnes, Dilley, and Berks).3 Pediatric and mental health

 21   advocates who visited ICE family detention centers in 2015 and 2016

 22   found “discrepancies between the standards outlined by ICE and the

 23   actual services provided, including inadequate or inappropriate

 24   immunizations, delayed medical care, inadequate education services,

 25   and limited mental health services.” Julie M. Linton, Marsha Griffin,

 26   Alan J. Shapiro, “Detention of Immigrant Children,” American Academy

 27

 28
      3
          Available at: https://perma.cc/JAZ7-ZG5K
               BRIEF OF 18 CITIES AND COUNTIES AS AMICI CURIAE IN SUPPORT OF
                        PLAINTIFFS’ MOTION TO ENFORCE SETTLEMENT
                                            12
Case 2:85-cv-04544-DMG-AGR Document 522 Filed 11/13/18 Page 18 of 31 Page ID
                                #:25861


  1   of Pediatrics, March 2017 at 8 (“AAP Report”).4
  2        Two of DHS’s own medical and psychiatric experts, so alarmed by
  3   the conditions and risks to the children’s well-being, wrote to the Senate
  4   Whistleblowing Caucus to voice their concerns. See Scott Allen, Pamela
  5   McPherson, Letter to Chairman Grassley and Vice Chairman Wyden,
  6   July 17, 2018.5 After conducting ten investigations over four years at
  7   ICE family detention facilities, Doctors Allen and McPherson concluded
  8   that children housed in ICE family detention centers are at “high risk of
  9   harm,” due to serious compliance issues such as lack of timely access to
 10   medical care, lack of sufficient medical staffing, inadequate trauma care
 11   and counseling, and inadequate access to language services. Id. at 4; see
 12   also American Pediatric Association, et al., July 24, 2018 Letter to
 13   Congress (letter submitted by 14 medical and mental health associations
 14   seeking congressional oversight of DHS-run facilities and stressing that
 15   “conditions in DHS facilities, which include open toilets, constant light
 16   exposure, insufficient food and water, no bathing facilities, extremely
 17   cold temperatures, and forcing children to sleep on cement floors, are
 18   traumatizing for children”).6
 19        Just last month, an especially troubling DHS Inspector General
 20   report on an ICE-run adult detention facility revealed astonishingly
 21   substandard and harmful conditions. See Office of Inspector General
 22   “Management Alert - Issues Requiring Action at the Adelanto ICE
 23   Processing Center in Adelanto, California,” OIG-18-86 (September 27,
 24   2018).7 The report was the result of an unannounced inspection of the
 25   adult Adelanto ICE Processing Center conducted in May and identified
 26
      4
        Available at: https://perma.cc/9HGG-HFRH
 27   5
        Available at: https://perma.cc/2S6H-QNJX
 28
      6
        Available at: https://perma.cc/PQM2-V5L2
      7
        Available at: https://perma.cc/PL8E-ZV36
            BRIEF OF 18 CITIES AND COUNTIES AS AMICI CURIAE IN SUPPORT OF
                     PLAINTIFFS’ MOTION TO ENFORCE SETTLEMENT
                                          13
Case 2:85-cv-04544-DMG-AGR Document 522 Filed 11/13/18 Page 19 of 31 Page ID
                                #:25862


  1   “serious violations” of ICE’s national detention standards, representing
  2   “significant threats to the safety, rights, and health of detainees.” Id. at
  3   2.
  4        One such violation was the presence of “nooses” (e.g., braided bed
  5   sheets), which are prohibited, in 15 of the 20 cells they visited. Id. at 2-
  6   3. The inspectors determined that ICE “has not taken seriously the
  7   recurring problem,” exhibiting “a disregard for detainee health and
  8   safety,” as these “nooses” have often been used in suicides or attempted
  9   suicides. Id. at 4. The inspectors also found that detainees were often
 10   placed prematurely in segregation without the required disciplinary
 11   hearing or findings and, once there, were being improperly handcuffed,
 12   shackled, and deprived of communication assistance. Id. at 5-7. Finally,
 13   the report detailed numerous failures by ICE to ensure that the
 14   detainees receive timely and necessary medical and dental care,
 15   resulting in tooth loss and exacerbated health conditions, and in some
 16   instances contributing to detainee death. Id. at 7-8. The report
 17   concluded that “although this form of civil custody should be non-
 18   punitive, some of the center conditions and detainee treatment we
 19   identified during our visit and outlined in this management alert are
 20   similar to those one may see in criminal custody.” Id. at 9. This report
 21   exposes the very real and ongoing failures of ICE to maintain its
 22   standards for ICE adult facilities; the risk of lasting harm to vulnerable
 23   children resulting from such substandard levels of care at family
 24   detention centers would be vastly greater than the risk to adults.
 25        The Rules further exacerbate the health risks posed by ICE-run
 26   detention facilities by leaving compliance in the hands of an
 27   “independent entity;” i.e., for-profit, third-party contractors. This
 28   compliance system has already proven to be woefully inadequate. In a
            BRIEF OF 18 CITIES AND COUNTIES AS AMICI CURIAE IN SUPPORT OF
                     PLAINTIFFS’ MOTION TO ENFORCE SETTLEMENT
                                           14
Case 2:85-cv-04544-DMG-AGR Document 522 Filed 11/13/18 Page 20 of 31 Page ID
                                #:25863


  1   June 2018 report, inspectors from DHS’s Office of Inspector General
  2   found that Nakamoto, the third-party contractor frequently used by ICE
  3   to conduct inspections at adult detention facilities, did not always
  4   examine actual conditions, was not consistently thorough, and
  5   frequently failed to identify compliance deficiencies. See Office of
  6   Inspector General “ICE’s Inspections and Monitoring of Detention
  7   Facilities Do Not Lead to Sustained Compliance or Systemic
  8   Improvements,” OIG-18-67 (June 26, 2018).8
  9           Indeed, the report found that, in some instances, Nakamoto even
 10   misrepresented results in their reports to ICE. Id. at 9. ICE employees
 11   reported that the Nakamoto inspections “breeze by the standards,” and
 12   were “very, very, very difficult to fail.” Id. The report further found that
 13   ICE does not “ensure adequate oversight or systemic improvements in
 14   detention conditions; certain deficiencies remain unaddressed for years.”
 15   Id. at 4-5 (i.e. problems identified in 2006 still persisted in 2017).
 16           The Rules embrace and adopt this subpar inspection regime. They
 17   do not set forth any details, much less requirements, about how the
 18   contracts to third parties will be awarded, how the contractors will be
 19   vetted, how often the facilities will be inspected, what the inspection
 20   process will entail, or how deficiencies will be addressed and corrected.
 21   Without such details, amici are left with little more than the
 22   Departments’ assurances that the new federal licensing scheme will
 23   meet the rigorous state-licensing standards set forth in the FSA. Given
 24   the well-documented shortcomings of oversight and compliance in ICE-
 25   run detention facilities, such assurances ring hollow.
 26
 27

 28
      8
          Available at: https://perma.cc/K57T-LV9N
               BRIEF OF 18 CITIES AND COUNTIES AS AMICI CURIAE IN SUPPORT OF
                        PLAINTIFFS’ MOTION TO ENFORCE SETTLEMENT
                                            15
Case 2:85-cv-04544-DMG-AGR Document 522 Filed 11/13/18 Page 21 of 31 Page ID
                                #:25864


  1           c. Eliminating the Requirement that Children be Housed in
  2              State-Licensed Facilities Will Result in Longer Detention in
                 Secure Facilities, Thereby Increasing the Ill Effects on
  3
                 Children.
  4
           If implemented, the Rules would permit DHS to hold children and
  5
      their families in secure, detention-like settings indefinitely (rather than
  6
      the 20-day limit currently in place), because ICE facilities would be
  7
      deemed “licensed” by ICE. As a result, the risk of harm to the physical
  8
      and mental health of these children would greatly increase. It is well-
  9
      documented that any amount of detention can be harmful to vulnerable
 10
      children. The recent AAP Report analyzed first-hand accounts from
 11
      children, doctors, and parents, as well as qualitative studies, and
 12
      concluded that even short-term detention could produce long-term
 13
      negative physical and emotional symptoms among detained children.
 14
      See AAP Report at 10 ( “[R]eports about detained unaccompanied
 15
      immigrant children in the United States found high rates of
 16
      posttraumatic stress disorder, anxiety, depression, suicidal ideation, and
 17
      other behavioral problems.”); see also human rights first Report at 1
 18
      (research from pediatricians, physicians and social workers who visited
 19
      family detention centers “confirms that detention of less than two weeks
 20
      is associated with negative health outcomes and potential long-term
 21
      health and developmental consequences”).
 22
           DHS’s own advisory committee, formed to advise ICE and DHS on
 23
      how to improve family detention, itself warned of the risks posed by
 24
      detention of children. See October 2016 Report of the ICE Advisory
 25
      Committee on Family Residential Centers (“[D]etention is generally
 26
      neither appropriate nor necessary for families…. [D]etention or the
 27
      separation of families for purposes of immigration enforcement or
 28
            BRIEF OF 18 CITIES AND COUNTIES AS AMICI CURIAE IN SUPPORT OF
                     PLAINTIFFS’ MOTION TO ENFORCE SETTLEMENT
                                           16
Case 2:85-cv-04544-DMG-AGR Document 522 Filed 11/13/18 Page 22 of 31 Page ID
                                #:25865


  1   management are never in the best interest of children.”).9
  2           And the Rules’ purported requirements regarding medical care do
  3   nothing to assuage these health concerns. See Proposed Rule, 45 CFR §
  4   410.402. Indeed, the onus appears to be on the licensed facility to set its
  5   own standard of “appropriate” or “routine” medical care. Outside of
  6   immunizations, there is no reference to national standards or clinical
  7   guidelines, and the directive to administer “prescribed medications” is
  8   rendered meaningless without comprehensive rules establishing the
  9   preventative care, testing, and medical services that must be provided to
 10   detained children. Nor are there any requirements that children
 11   suspected or diagnosed with a disease of public health concern be
 12   reported to local health officials, as is required by state and local laws—
 13   once again ensuring that these facilities remain unchecked.
 14   II.     THE RULES CURTAIL OR ELIMINATE ESSENTIAL
 15
              PROCEDURAL PROTECTIONS GUARANTEED BY THE FSA.

 16           The Rules also strip away a number of key substantive and
 17   procedural safeguards required by the FSA. The Rules eliminate UACs’
 18   rights to be heard in bond redetermination hearings and impose new
 19   requirements on sponsors. They also pave the way for extended periods
 20   of detention for immigrant children, undermining the central purpose
 21   animating the FSA – to protect immigrant children’s welfare by limiting
 22   their time in detention as much as possible. Finally, the Rules will
 23   significantly impede children’s access to crucial legal services.
 24             a. The Rules Deprive UACs of Their Right to be Heard at Bond
                   Hearings.
 25
              Under the FSA, UACs in deportation proceedings “shall be
 26
      afforded a bond redetermination hearing before an immigration judge in
 27

 28
      9
          Available at: https://perma.cc/QZ3Y-5KL4
               BRIEF OF 18 CITIES AND COUNTIES AS AMICI CURIAE IN SUPPORT OF
                        PLAINTIFFS’ MOTION TO ENFORCE SETTLEMENT
                                            17
Case 2:85-cv-04544-DMG-AGR Document 522 Filed 11/13/18 Page 23 of 31 Page ID
                                #:25866


  1   every case, unless the minor indicates . . . that he or she refuses such a
  2   hearing.” FSA, ¶ 24(A). This hearing allows UACs an opportunity to
  3   challenge ORR’s initial determination that they are not entitled to
  4   release because they pose a flight risk or a danger to the community, as
  5   well as to challenge whether they will be placed in a secure versus non-
  6   secure facility. See id., ¶ 24(B). The Rules replace the procedure for
  7   redetermination hearings with a new administrative process, whereby a
  8   UAC is only afforded such a hearing if she affirmatively requests one,
  9   and any such redetermination is made not by an immigration judge, but
 10   by a hearing officer “employed by HHS.” Proposed Rule, 45 CFR §
 11   410.810. By placing the onus on UACs – who lack familiarity with their
 12   rights and the immigration process in general – to request a
 13   redetermination hearing, the Rules will inevitably lead to fewer children
 14   receiving such hearings and, therefore, to prolonged detention.10
 15        Bond redetermination hearings provide a vital check against
 16   unnecessary, or overly-restrictive detentions of UACs. And such
 17   hearings grant invaluable protections to UACs even if they do not
 18   ultimately result in release: they allow for representation by counsel, an
 19   opportunity for the UAC to make an oral statement, and the creation of
 20   an evidentiary record, and the right of appeal. Flores v. Sessions, 862
 21   F.3d 863, 879 (9th Cir. 2017). Further, such hearings “compel the
 22   agency to provide its justifications and legal grounds for holding a given
 23   minor.” Id. at 867. Without such hearings, “these children have no
 24   meaningful forum in which to challenge ORR’s decisions regarding their
 25   detention or even to discover why those decisions have been made.” Id.
 26   Bond redetermination hearings, therefore, provide an independent,
 27
      10
        The Rules also further narrow the scope of the hearings, should they
 28   occur, by prohibiting review of the UAC’s level of custody. Proposed
      Rule, 45 CFR § 410.810(h).
            BRIEF OF 18 CITIES AND COUNTIES AS AMICI CURIAE IN SUPPORT OF
                     PLAINTIFFS’ MOTION TO ENFORCE SETTLEMENT
                                           18
Case 2:85-cv-04544-DMG-AGR Document 522 Filed 11/13/18 Page 24 of 31 Page ID
                                #:25867


  1   transparent process through which the government must account for its
  2   decisions affecting this vulnerable population.
  3        To support the proposed elimination of this right, the Departments
  4   rely on the very same arguments that the Ninth Circuit rejected in
  5   Flores v. Sessions. Citing to the 2002 Homeland Security Act (“HSA”),
  6   and the 2008 William Wilberforce Trafficking Victims Protection Act
  7   (“TVPRA”), the Rules assert that the two statutes supersede the FSA
  8   and no longer authorize, much less require, bond redetermination
  9   hearings before an immigration judge. NPRM at 45509. The
 10   Departments contend that because Congress failed to explicitly provide
 11   for bond hearings in the two laws, and because the breadth of ORR’s
 12   responsibility over UACs effectively precludes immigration judges in the
 13   Department of Justice from having any authority over UAC detention,
 14   the bond hearing requirement is no longer legally valid. Id. at 45509-10.
 15        The Departments’ position, like the attempt to circumvent the
 16   state licensing requirement, has already been rejected by the Ninth
 17   Circuit, which held that “in enacting the HSA and TVPRA, Congress did
 18   not terminate Paragraph 24(A) (the bond hearing requirement) of the
 19   Flores Settlement with respect to unaccompanied minors.” Sessions, 862
 20   F.3d at 867. As the court reasoned, because the “overarching purpose of
 21   the HSA and TVPRA was quite clearly to give unaccompanied minors
 22   more protection, not less,” id. at 880, “[d]epriving these children of their
 23   existing right to a bond hearing is incompatible with such an aim.” Id.
 24   at 874. Examining the text of each statute and the statutory framework
 25   as a whole, the court held that the HSA and TVPRA neither explicitly
 26   supersede the FSA’s bond hearing requirement nor create a framework
 27   incompatible with such hearings. Id. at 875, 880.
 28
            BRIEF OF 18 CITIES AND COUNTIES AS AMICI CURIAE IN SUPPORT OF
                     PLAINTIFFS’ MOTION TO ENFORCE SETTLEMENT
                                           19
Case 2:85-cv-04544-DMG-AGR Document 522 Filed 11/13/18 Page 25 of 31 Page ID
                                #:25868


  1          The Departments’ only response to the Ninth Circuit’s ruling is
  2   that the case was wrongly decided. See NPRM at 45509. Whatever the
  3   Departments’ view of the merits of that decision, it remains governing
  4   law.
  5          The Departments also attempt to justify the Rules’ elimination of
  6   the FSA’s bond redetermination procedure by arguing that it is “more
  7   sensible for the same agency (HHS) charged with responsibility for
  8   custody and care of UACs also to conduct the hearings envisioned by the
  9   FSA.” Id. at 45509. Such a position, however, directly conflicts with a
 10   UAC’s right under the FSA “to have the merits of [her] detention
 11   assessed by an independent immigration judge.” Sessions, 862 F.3d at
 12   880. It is also far from sensible—rather than provide an independent
 13   arbiter to assess HHS’s bond determinations, the Rules make HHS both
 14   jailer and judge. Finally, under the system set forth in the Rules,
 15   appeals would go directly to the Assistant Secretary for the
 16   Administration of Children and Families, instead of being heard by
 17   judges on the Board of Immigration Appeals, who possess far more
 18   institutional knowledge of the issues and are better suited to assess
 19   bond redetermination decisions.
 20            b. The Rules Limit Options for Release from Federal Custody.
 21          The Rules further conflict with the essence of the FSA by
 22   significantly curtailing to whom, and when, a minor who has been
 23   approved for release by DHS and HHS may actually be released. Under
 24   the FSA, potential sponsors must undergo a rigorous vetting process
 25   that requires, among other things, that they execute an Affidavit of
 26   Support agreeing to provide for the minor’s well-being and ensure
 27   appearance of the minor at all future immigration proceedings; in
 28   addition, potential sponsors may be required to submit to a “positive
             BRIEF OF 18 CITIES AND COUNTIES AS AMICI CURIAE IN SUPPORT OF
                      PLAINTIFFS’ MOTION TO ENFORCE SETTLEMENT
                                           20
Case 2:85-cv-04544-DMG-AGR Document 522 Filed 11/13/18 Page 26 of 31 Page ID
                                #:25869


  1   suitability assessment,” which includes investigations into the
  2   custodian’s living conditions, identification, and employment. FSA, ¶
  3   15.
  4         The Rules go further and place additional vetting procedures on
  5   potential sponsors, adding to the suitability assessment a required
  6   “fingerprint-based background and criminal records check,” not just for
  7   the sponsor, but also for any “adult residents of the prospective sponsor’s
  8   household.” Proposed Rule, 45 CFR § 410.302. The addition of the
  9   requirement of fingerprint-based criminal background checks on all
 10   adult household residents is suspect in light of this Administration’s
 11   aggressive immigration enforcement efforts. This information will
 12   necessarily be shared with ICE, who may then actively use the
 13   information from sponsors and their households for purposes beyond
 14   those contemplated by the FSA, such as for raids, arrests, and other
 15   enforcement actions. Amici assert that these additional vetting
 16   requirements will unduly delay release and possibly deter safe, stable,
 17   and responsible custodians from coming forward to sponsor detained
 18   children. Not only do the expanded fingerprint-based background
 19   checks not serve their identified purpose, this measure will be harmful
 20   to amici’s immigrant residents.
 21         A recent example out of Chicago shines a light on how the Rules’
 22   new processes will cause emotional harm to the immigrant children and
 23   unnecessary detention. In that instance, it took an order from a federal
 24   district court judge to prompt federal officials to release a nine-year-old
 25   boy who had been placed with a social services agency in Chicago to his
 26   mother, who had not seen him for weeks since they were separated at
 27   the border in late May. Federal officials had refused to reunite the
 28   mother and child until adults living with the mother produced
            BRIEF OF 18 CITIES AND COUNTIES AS AMICI CURIAE IN SUPPORT OF
                     PLAINTIFFS’ MOTION TO ENFORCE SETTLEMENT
                                           21
Case 2:85-cv-04544-DMG-AGR Document 522 Filed 11/13/18 Page 27 of 31 Page ID
                                #:25870


  1   background information and consented to be fingerprinted. The court
  2   rejected any need for delay, holding that the continued separation likely
  3   violated the mother and son’s due process rights and subjected them to
  4   irreparable harm. Souza v. Sessions, No. 1:18-cv-04412 (MSS) ECF Dkt.
  5   # 23 (N.D. Ill. June 28, 2018).
  6        The Rules also restrict to whom DHS may release children beyond
  7   what the FSA contemplates. Under the FSA, minors may be released
  8   from either DHS or HHS custody to, in preferred order: (1) a parent, (2)
  9   a legal guardian, (3) an adult relative (brother, sister, aunt, uncle, or
 10   grandparent), or (4) an adult individual or entity designated by the
 11   parent or legal guardian who provides sufficient documentary sworn
 12   evidence of capability of care to the satisfaction of officers. FSA, ¶ 14.
 13   Under the Rules, however, children in DHS custody may only be
 14   released to a parent or legal guardian not in detention. See Proposed
 15   Rule, 8 CFR § 236.3(j). This change would curb the ability of a minor to
 16   be released to a relative, rather than remain in prolonged and
 17   unregulated family detention, should the family prefer. This change, is
 18   therefore “inconsistent with the terms” of the FSA. See FSA, ¶ 9.
 19   Moreover, given the already rigorous suitability tests for sponsors, there
 20   is no simply no justification for removing adult relatives from the list of
 21   approved custodians.
 22        Finally, the Rules conflict with the FSA’s procedural protections
 23   for asylum-seekers. Children seeking asylum are placed in expedited
 24   removal proceedings, which means they are subject to mandatory
 25   detention unless or until they can show a credible fear of persecution in
 26   their home countries. 8 U.S.C. § 1225(B)(iii)(IV). Under the FSA, DHS
 27   has the discretion to release children seeking asylum based on a case-by-
 28   case determination that includes not only medical necessity or law
            BRIEF OF 18 CITIES AND COUNTIES AS AMICI CURIAE IN SUPPORT OF
                     PLAINTIFFS’ MOTION TO ENFORCE SETTLEMENT
                                           22
Case 2:85-cv-04544-DMG-AGR Document 522 Filed 11/13/18 Page 28 of 31 Page ID
                                #:25871


  1   enforcement needs (the two exceptions that apply to adults), but also
  2   “urgent humanitarian reasons” or “significant public benefit.” FSA, ¶
  3   14. The Rules would remove these additional bases for release and
  4   provide that the same strict parole standards that apply to adults are
  5   also applied to minors in expedited removal proceedings. See Proposed
  6   Rule, 8 CFR § 212(5)(b)(3) The Rules provide no explanation for
  7   eliminating DHS’s authority to consider unique circumstances that may
  8   arise for children seeking asylum.
  9                                CONCLUSION
 10        Instead of being consistent with the terms of the FSA, as required,
 11   the Rules dispense wholesale with its most critical protections, in favor
 12   of a new detention policy for which Defendants identify no supportable
 13   justification. The Rules impermissibly conflict with the express terms
 14   and the underlying purpose of the FSA – to protect the health and
 15   wellbeing of immigrant children. In particular, the Rules allow
 16   Defendants to hold immigrant children in substandard, detention-like
 17   facilities for unnecessary periods of time, without any oversight or
 18   accountability, and deprive them of essential procedural protections.
 19   For these reasons, amici respectfully request this Court to grant
 20   Plaintiffs’ Motion to Enforce Settlement.
 21

 22

 23

 24

 25

 26
 27

 28
            BRIEF OF 18 CITIES AND COUNTIES AS AMICI CURIAE IN SUPPORT OF
                     PLAINTIFFS’ MOTION TO ENFORCE SETTLEMENT
                                           23
Case 2:85-cv-04544-DMG-AGR Document 522 Filed 11/13/18 Page 29 of 31 Page ID
                                #:25872


  1                                        Respectfully submitted,
       Dated:     November 7, 2018
  2                                        By:/s/     Michael Dundas
  3                                             Michael N. Feuer
                                                  City Attorney
  4                                             James P. Clark
                                                Leela Kapur
  5                                             Valerie Flores
                                                Michael Dundas
  6                                             200 North Main Street,
                                                City Hall East Suite 800
  7                                             Los Angeles, CA 90012
  8                                             Attorneys for Amicus Curiae
                                                  City of Los Angeles, California
  9
         Edward N. Siskel                       Zachary W. Carter
 10         Corporation Counsel                   Corporation Counsel
         Jane Elinor Notz                       100 Church Street
 11      Rebecca Hirsch                         New York, NY 10007
         30 N. LaSalle Street, Suite 800
 12      Chicago, IL 60602                      Attorney for Amicus Curiae
                                                  City of New York, New York
 13      Attorneys for Amicus Curiae
           City of Chicago, Illinois
 14
         Dennis J. Herrera                      Margaret L. Carter
 15          City Attorney                      O’Melveny & Myers LLP
         City Hall Room 234                     400 S. Hope Street
 16      One Dr. Carlton B. Goodlett            Los Angeles, CA 90071
         Pl.
 17      San Francisco, CA 94102                Attorney for Amicus Curiae
                                                  Los Angeles County, California
 18      Attorney for Amicus Curiae
           City and County of San
 19         Francisco, California
 20      James R. Williams                      Anne L. Morgan
            County Counsel                        City Attorney
 21      70 West Hedding St., 9th Fl.           PO Box 1546
         San Jose, CA 95110-1770                Austin, TX 78767
 22
         Attorney for Amicus Curiae             Attorney for Amicus Curiae
 23         County of Santa Clara,                 City of Austin, Texas
            California
 24
         Eugene O’Flaherty                      Nancy E. Glowa
 25        Corporation Counsel                     City Solicitor
         One City Hall Square, Rm. 615          795 Massachusetts Avenue
 26      Boston, MA 02201                       Cambridge, MA 02139
 27      Attorney for Amicus Curiae             Attorney for Amicus Curiae
            City of Boston,                        City of Cambridge,
 28         Massachusetts                          Massachusetts
            BRIEF OF 18 CITIES AND COUNTIES AS AMICI CURIAE IN SUPPORT OF
                     PLAINTIFFS’ MOTION TO ENFORCE SETTLEMENT
                                           24
Case 2:85-cv-04544-DMG-AGR Document 522 Filed 11/13/18 Page 30 of 31 Page ID
                                #:25873


  1
         Zach Klein                             Ronald C. Lewis
  2         City Attorney                          City Attorney
         77 N. Front St – 4th Floor             900 Bagby, 4th Floor
  3      Columbus, OH 43215                     Houston, Texas 77002
  4      Attorney for Amicus Curiae             Attorney for Amicus Curiae
            City of Columbus, Ohio                 City of Houston, Texas
  5
         John Rose, Jr.                         Barbara J. Parker
  6         Corporation Counsel                    City Attorney
         165 Church Street, 4th Flr.            One Frank H. Ogawa Plaza, 6th
  7      New Haven, CT 06510                    Flr.
                                                Oakland, California 94612
  8      Attorney for Amicus Curiae
            City of New Haven,                  Attorney for Amicus Curiae
  9         Connecticut                            City of Oakland, California
 10      Marcel S. Pratt                        Jeffrey Dana
            City Solicitor                         City Solicitor
 11      City of Philadelphia Law               444 Westminster Street, Suite
         Department                             220
 12      1515 Arch Street, 17th Floor           Providence, RI 02903
         Philadelphia, PA 19102
 13                                             Attorney for Amicus Curiae
         Attorney for Amicus Curiae                City of Providence,
 14         City of Philadelphia,                  Rhode Island
            Pennsylvania
 15
         Richard Doyle                          Peter S. Holmes
 16         City Attorney                          City Attorney
         Office of the City Attorney            701 Fifth Avenue, Suite 2050
 17      200 E. Santa Clara Street,             Seattle, WA 98104-7097
         16th Flr.
 18      San Jose California 95113-             Attorney for Amicus Curiae
         1905                                      City of Seattle, Washington
 19
         Attorney for Amicus Curiae
 20         City of San Jose, California
 21      Francis X. Wright, Jr.
            City Solicitor
 22      93 Highland Avenue
         Somerville, MA 02143
 23
         Attorney for Amicus Curiae
 24         City of Somerville,
            Massachusetts
 25

 26
 27

 28
            BRIEF OF 18 CITIES AND COUNTIES AS AMICI CURIAE IN SUPPORT OF
                     PLAINTIFFS’ MOTION TO ENFORCE SETTLEMENT
                                           25
Case 2:85-cv-04544-DMG-AGR Document 522 Filed 11/13/18 Page 31 of 31 Page ID
                                #:25874


  1

  2                        CERTIFICATE OF SERVICE
  3        I hereby certify that on November 13, 2018, a copy of the foregoing
  4   Brief of 18 Cities and Counties as Amici Curiae in Support of Plaintiffs’
  5   Motion to Enforce Settlement was filed and served pursuant to the Court’s
  6   electronic filing procedures using CM/ECF.
  7

  8
                                                   /s/   Michael Dundas
  9
                                                         Michael Dundas
 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20
 21

 22

 23

 24

 25

 26
 27

 28
            BRIEF OF 18 CITIES AND COUNTIES AS AMICI CURIAE IN SUPPORT OF
                     PLAINTIFFS’ MOTION TO ENFORCE SETTLEMENT
